             Case 1-16-41560-ess         Doc 79     Filed 12/21/17     Entered 12/22/17 00:18:11

                                      United States Bankruptcy Court
                                      Eastern District of New York
In re:                                                                                 Case No. 16-41560-ess
Edna Parks Blankinship                                                                 Chapter 11
         Debtor
                                        CERTIFICATE OF NOTICE
District/off: 0207-1          User: acruz                  Page 1 of 2                   Date Rcvd: Dec 19, 2017
                              Form ID: 225                 Total Noticed: 28


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Dec 21, 2017.
db             +Edna Parks Blankinship,    405 Parkside Ave,    Brooklyn, NY 11226-1478
smg             NYC Department of Finance,    345 Adams Street,    Office of Legal Affairs,
                 Brooklyn, NY 11201-3719
smg            +NYS Unemployment Insurance,    Attn: Insolvency Unit,    Bldg. #12, Room 256,
                 Albany, NY 12240-0001
smg            +United States of America,    Secretary of the Treasury,     15th Street & Pennsylvania Ave. NW,
                 Washington, DC 20220-0001
8868880        +102-11 Metropolitan Avenue,    Forest Hills, NY 11375-6731
8795403        +Bayview Loan Servicing, LLC,     c/o Rosicki, Rosicki & Associates, P.C.,    51 East Bethpage Road,
                 Plainview, NY 11803-4224
8779463        +City of New York,    NYC Law Department,    100 Church St,    New York, NY 10007-2668
8779461        +Internal Revenue Service,    c/o US Attorney Claims Unit,     One Saint Andrews Plaza Rm 417,
                 New York, NY 10007-1701
8793285        +Jamil and Blanca Ahmad,    c/o Jack Yankowitz,    175 East Shore Road,
                 Great Neck, NY 11023-2437
8779464        +Jennifer Huie,    407 Parkside Ave,    Brooklyn, NY 11226-1478
8779465       #+John Lewis,    411 Parkside Ave,    Brooklyn, NY 11226-1478
8793286        +Lisa Abassi,    c/o Nicholas Rose,    102-11 Metropolitan Ave,    Forest Hills, NY 11375-6731
8846794        +Metropolitan Life Insurance Company c/o,     Bayview Loan Servicing, LLC,
                 4425 Ponce De Leon Blvd. 5th Floor,     Coral Gables, FL 33146-1837
8779466        +NYCTL 1998-2 TRUST Successor In Interest,     c/o Law Office of John D. Dello-Iacono,
                 105 MaxessRd., Ste 124,    Melville, NY 11747-3821
8801297        +NYCTL 1998-2 Trust and The Bank of New York Mellon,     c/o Shapiro, DiCaro & Barak, LLC,
                 One Huntington Quadrangle, Suite 3N05,     Melville, NY 11747-4468
8809283         NYCTL 1998-2 Trust and The Bank of New York Mellon,     Morristown, NJ 07963
8783468        +Ocwen Loan Servicing, LLC,    ROBERTSON, ANSCHUTZ & SCHNEID, P.L.,
                 6409 CONGRESS AVE., SUITE 100,     BOCA RATON, FL 33487-2853
8779458        +State of New York,    Attorney General’s Office,    120 Broadway,    New York, NY 10271-0332
8779457        +United States Attorney,    Eastern District of New York,     147 Pierrepont Plaza,
                 Brooklyn, NY 11201-2712
8779460        +United States of America,    c/o U.S. Attorney,    86 Chambers Street,    New York, NY 10007-1825
8779468        +Warren Hwang,    411 Parkside Ave,    Brooklyn, NY 11226-1478

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
smg            +E-mail/Text: nys.dtf.bncnotice@tax.ny.gov Dec 19 2017 18:30:00
                 NYS Department of Taxation & Finance,    Bankruptcy Unit,   PO Box 5300,
                 Albany, NY 12205-0300
smg            +E-mail/Text: ustpregion02.br.ecf@usdoj.gov Dec 19 2017 18:29:50
                 Office of the United States Trustee,    Eastern District of NY (Brooklyn Office),
                 U.S. Federal Office Building,    201 Varick Street, Suite 1006,   New York, NY 10014-9449
8779462        +E-mail/Text: bkmailbayview@bayviewloanservicing.com Dec 19 2017 18:29:55
                 Bayview Financial Loan,    Attn: Bankruptcy,   4425 Ponce De Leon Blvd 5th,
                 Miami, FL 33146-1873
8798355         E-mail/Text: cio.bncmail@irs.gov Dec 19 2017 18:29:45      INTERNAL REVENUE SERVICE,
                 P.O. BOX 7346,    PHILADELPHIA, PA 19101-7346
8809171        +E-mail/Text: tburke@tcmfund.com Dec 19 2017 18:29:51
                 NYCTL 1998-2 Trust and The Bank of New York Mellon,    c/o Tower Capital Management, LLC,
                 P.O. Box 399,    Morristown, NJ 07963-0399
8779459        +E-mail/Text: nys.dtf.bncnotice@tax.ny.gov Dec 19 2017 18:29:59       NYS Dept of Tax & Finance,
                 Bankruptcy Unit,    PO Box 5300,   Albany, NY 12205-0300
8779467        +Fax: 407-737-5634 Dec 19 2017 19:00:32      Ocwen Loan Sevicing Llc,    Attn: Research Dept,
                 1661 Worthington Rd    Ste 100,   West Palm Beach, FL 33409-6493
                                                                                              TOTAL: 7

           ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
smg*            Internal Revenue Service,   PO Box 7346,   Philadelphia, PA    19101-7346
                                                                                              TOTALS: 0, * 1, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’#’ were identified by the USPS National Change of Address system as requiring an update.
While the notice was still deliverable, the notice recipient was advised to update its address with the court
immediately.
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                                      Form ID: 225                       Total Noticed: 28


             ***** BYPASSED RECIPIENTS (continued) *****


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Dec 21, 2017                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on December 19, 2017 at the address(es) listed below:
              Andrew David Goldberg    on behalf of Creditor    Bayview Loan Servicing, LLC Bkmail@rosicki.com,
               ECFNotice@Rosicki.com
              Andrew David Goldberg    on behalf of Creditor    Metropolitan Life Insurance Company c/o Bayview
               Loan Servicing, LLC Bkmail@rosicki.com, ECFNotice@Rosicki.com
              Lisa Singer     on behalf of Creditor   Bayview Loan Servicing, LLC Bkmail@rosicki.com,
               ECFNotice@Rosicki.com
              Mark A. Frankel    on behalf of Debtor Edna Parks Blankinship mfrankel@bfklaw.com,
               mark_frankel@yahoo.com;frankel.mark@gmail.com
              Office of the United States Trustee    USTPRegion02.BR.ECF@usdoj.gov
              Rachel Blumenfeld     on behalf of Creditor Lisa Abassi rblmnf@aol.com
              Robert W. Griswold    on behalf of Creditor    Tower Capital Management, LLC Servicer for NYCTL
               1998-2 Trust and The Bank of New York Mellon as Collateral Agent and Custodian
               rgriswold@logs.com, NYBKCourt@logs.com
              Shari S Barak    on behalf of Creditor   NYCTL 1998-2 Trust and The Bank of New York Mellon as
               Collateral Agent and Custodian sbarak@logs.com, NYBKCourt@logs.com
              Shari S Barak    on behalf of Creditor   Tower Capital Management, LLC Servicer for NYCTL 1998-2
               Trust and The Bank of New York Mellon as Collateral Agent and Custodian sbarak@logs.com,
               NYBKCourt@logs.com
                                                                                              TOTAL: 9
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    Information to identify the case:
    Debtor
                       Edna Parks Blankinship                                        EIN _ _−_ _ _ _ _ _ _
                       Name


    United States Bankruptcy Court Eastern District of New York
                                                                                     Date case filed for chapter 11 4/13/16
    Case number: 1−16−41560−ess




                                       NOTICE OF ENTRY OF ORDER CONFIRMING
                                        CHAPTER 11 PLAN OF REORGANIZATION
NOTICE IS HEREBY GIVEN THAT:

In accordance with Bankruptcy Rule 2002, an order was signed on 12/18/17 confirming the debtor's Chapter 11 Plan of
Reorganization.

The Order Confirming the Plan of Reorganization is on file and available for inspection in the Clerk's Office at:
271−C Cadman Plaza East, Suite 1595
Brooklyn, NY 11201−1800



Dated: December 19, 2017


                                                                            For the Court, Robert A. Gavin, Jr., Clerk of Court




   BLeoc1.jsp [Notice Confirming Chapter 11 Plan rev. 02/01/17]
